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 8                              UNITED STATES DISTRICT COURT
 9              CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
10
11   LUCAS R., et al.,                        Case No. CV 2:18-CV-05741-DMG
12                   Plaintiffs,              PLAINTIFFS’ OPPOSITION TO
                                              DEFENDANTS’ MOTION TO DISMISS
13         v.
14   ALEX AZAR, Secretary of U.S.
     Department of Health and Human
15   Services; et al.,
16                   Defendants.
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 1   I.    INTRODUCTION
 2         Venue is not at issue in this litigation. Defendants waived this defense when
 3   they failed to raise it in their first responsive filing invoking defenses under Federal
 4   Rule of Civil Procedure 12, their Opposition to the Motion for Preliminary Injunction
 5   Re: Plaintiff Lucas R. (ECF No. 44.) Even were that not so, venue is undoubtedly
 6   proper in this District because two of the named Plaintiffs reside here. If even one
 7   plaintiff resides in a District, venue is proper as to all plaintiffs and all claims under 28
 8   U.S.C. § 1391(e)(1)(C). Further, this District is where the Office of Refugee
 9   Resettlement (“ORR”) took actions that form a substantial part of injuries suffered by
10   two of the named Plaintiffs. Specifically, named Plaintiff Daniela Marisol T. was
11   placed in a shelter in this District for several months and informed by ORR that it was
12   a secure or staff secure facility. While there she suffered deprivations and violations
13   of her rights as alleged in the Complaint. Similarly, named Plaintiff Lucas R. was
14   denied placement in the least restrictive setting, when ORR conducted a home study
15   of his proposed custodian and Next Friend Madelyn R. at her home in Los Angeles,
16   thereby prolonging his placement and the many violations he has suffered as a result,
17   including violation of his due process rights. Under 28 U.S.C. § 1391(e)(1)(B), venue
18   is also proper based on these substantial events and provides venue for all other
19   Plaintiffs in this action. At the very least, the Court may exercise its discretion under
20   the pendant venue doctrine to consider all claims by all plaintiffs so long as even one
21   plaintiff is properly before it. The government does not argue otherwise.
22         Further, the present dispute is not duplicative of the Flores Settlement. As this
23   Court held, the Settlement does not provide certain procedural protections for
24   substantive rights conferred by the consent decree. (Flores v. Meese, No. 85-cv-4544-
25   DMG-AGR, ECF No. 470.) Indeed, the government argued in opposition to the
26   Flores plaintiffs’ Motion to Enforce that separate litigation was required. (Flores,
27   ECF No. 425.) It is too late for the government to reconsider and declare that any and
28   all rights raised in this Complaint are subject to the Flores Settlement.
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 1   II.   STATEMENT OF FACTS
 2         Four of the named Plaintiffs have significant connections to the Central District
 3   of California, making venue entirely appropriate in this matter. First, San Fernando
 4   Valley Refugee Children Center, Inc. (“Children Center”) has its principal place of
 5   business in North Hills, California. (Compl. ⁋ 15.) Its “mission is to provide
 6   comprehensive social services, including mental health care, shelter, transitional living
 7   assistance and legal aid, to children, youth, and families who have come in search of
 8   refuge from persecution and endemic violence in the Northern Triangle of Central
 9   America (El Salvador, Honduras, and Guatemala).” (Id.) Unfortunately, Defendants’
10   “policies and practices … make it substantially more difficult for the Children Center
11   to carry out its mission.” (Id.) For example, the additional trauma that Defendants’
12   restrictive detention and involuntary medication inflicts on the children and youth that
13   the Children Center serves “requires the Children Center to devote commensurately
14   greater resources, particularly mental health resources, to assist such children and
15   youth to recover.” (Id.) In addition, the greater resources the Children Center is
16   required to devote to a single child means that it is able to serve a smaller population,
17   which directly affects its ability to raise funds, which “depends in part on the raw
18   number of children and youth it helps.” (Id. ¶ 16.)
19         Plaintiff Unaccompanied Central American Refugee Empowerment
20   (“UCARE”) also has its principal place of business in Los Angeles, California. (Id. ⁋
21   17.) Its “mission is to advocate for and provide legal and social services to immigrant
22   and refugee minors, many of whom are or have been in [Defendants’]
23   custody.” (Id.) As part of its work, “UCARE arranges free representation and
24   assistance to youth [in immigration proceedings].” (Id.) “Defendants’ challenged
25   policies and practices deny or delay children’s release,” making UCARE’s assistance
26   and legal representation “substantially more difficult and render UCARE’s work less
27   effective.” (Id.)
28         Although not a current resident of the District, named Plaintiff Daniela Marisol
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  1   T. endured a placement in an ORR facility in La Verne, California, just outside of Los
  2   Angeles, in early 2018. (Id. ⁋ 35.) ORR gave her notice that the shelter was a secure
  3   or staff secure facility. (Declaration of Jonathan Mulligan in support of Opposition to
  4   Motion to Dismiss (“Mulligan Decl.”), Ex. A.) While there, she suffered numerous
  5   deprivations and violations that form the basis for her claims, including the improper
  6   administration of psychotropic drugs contrary to California law. (Id.)
  7          Lastly, ORR’s actions within the Central District of California prevented Lucas
  8   R.’s placement with his sister and Next Friend Madelyn R., lengthening his stay in
  9   secure detention and resulting in continued improper administration of psychotropic
 10   drugs. During the entirety of ORR’s custody of Lucas R., Madelyn R. has resided in
 11   Los Angeles, California. (Id. ⁋ 25.) It was there that ORR conducted a home study,
 12   and despite finding that Madelyn R. could provide a suitable home for Lucas R.
 13   within this District, determined that reunification between Lucas R. and his sister was
 14   not possible. This decision was based solely on the fact that a visitor to the house
 15   (who was present during the home study but did not reside there) did not submit to
 16   ORR’s demands that he appear for fingerprinting. (Id. ⁋ 26.)
 17   III.   LEGAL STANDARD
 18          In a challenge to venue under Rule 12(b)(3) the court may look outside of the
 19   pleadings, but “must draw all reasonable inferences . . . and resolve all factual conflicts
 20   in favor of the non-moving party.” Murphy v. Schneider Nat’l, Inc., 362 F.3d 1133,
 21   1138 (9th Cir. 2004). Under Rule 12(b)(6), this Court must take all well-pled facts as
 22   true and “construe them in the light most favorable to plaintiffs.” OSU Student All. v.
 23   Ray, 699 F.3d 1053, 1061 (9th Cir. 2012). The complaint must allege facts supporting
 24   a “plausible” claim, Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007), meaning that
 25   it “pleads factual content that allows the court to draw the reasonable inference that the
 26   defendant is liable for the misconduct alleged,” Ashcroft v. Iqbal, 556 U.S. 662, 678
 27   (2009) (citation omitted).
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  1   IV.      ARGUMENT
  2            A.      Defendants have waived any objection to venue by failing to raise it in
                       opposition to Plaintiffs’ motion for preliminary injunction.
  3
  4            “A fundamental tenet of the Federal Rules of Civil Procedure is that certain
  5   defenses under Fed.R.Civ.P. 12 must be raised at the first available opportunity or, if
  6   they are not, they are forever waived.” Am. Ass'n of Naturopathic Physicians v.
  7   Hayhurst, 227 F.3d 1104, 1106 (9th Cir. 2000). Rule 12(h) provides that defenses
  8   based on venue, among others, are waived in certain circumstances, including by
  9   failing to include the defense in a Rule 12 motion or in a responsive pleading. Fed. R.
 10   Civ. P. 12(h). As explained by the Ninth Circuit, “[t]he essence of Rule 12—
 11   embodied in the combined language of 12(g) and 12(h)—is that a party who by
 12   motion invites the court to pass upon a threshold defense should bring forward all the
 13   specified defenses [personal jurisdiction, improper venue, insufficient process, or
 14   insufficient service] he then has and thus allow the court to do a reasonably complete
 15   job.” Hayhurst, 227 F.3d at 1107 (internal quotation marks and citation omitted).
 16   Thus, if a defendant “raised any Rule 12 defenses in his first filing to the court, he was
 17   obliged to raise all of those specified in Rule 12(h).” Id. (emphasis in original).
 18            Here, Defendants’ “first significant defensive move,” 5C Charles Alan Wright
 19   & Arthur R. Miller, Federal Practice and Procedure § 1391 (3d ed. 2004), was
 20   responding to Plaintiffs’ Motion for Preliminary Injunction Re: Plaintiff Lucas R.
 21   (ECF No. 44.) In that filing, Defendants made a variety of arguments against
 22   granting the requested relief, but never raised venue as a defense. 1 Accordingly,
 23   Defendants have waived any objections to venue in this Court. See Hayhurst, 227
 24   F.3d at 1107-08 (finding defendant waived objection to personal jurisdiction by
 25   failing to include it in his first filing with the court—a Rule 55 motion); Bautista-
 26   Perez v. Holder, 681 F. Supp. 2d 1083, 1093 (N.D. Cal. 2009) (finding “Government
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          In fact, the word “venue” does not appear once in Defendants’ brief.
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  1   waived … venue objection by failing to raise it in opposition to Plaintiffs’ motion for
  2   preliminary injunction”) (citing Fed. R. Civ. P. 12(h)); see also Trs. of Cent. Laborers'
  3   Welfare Fund v. Lowery, 924 F.2d 731, 733-34 (7th Cir. 1991) (finding waiver of
  4   defense under Rule 12(b)(5) based on defendant’s conduct despite the fact that no
  5   formal pleading was filed). Defendants’ motion to dismiss for improper venue is
  6   untimely and should be denied on this ground alone.
  7         B.     Venue is proper in this Court because multiple Plaintiffs reside in this
                   District.
  8
  9         Even if the Court finds that Defendants have not waived their venue objections,
 10   the motion to dismiss should be denied because venue is clearly appropriate in the
 11   Central District of California.
 12         In civil actions against agencies, officers, or employees of the United States,
 13   venue is proper “in any judicial district in which (A) a defendant in the action resides,
 14   (B) a substantial part of the events or omissions giving rise to the claim occurred, …
 15   or (C) the plaintiff resides if no real property is involved in the action.” 28 U.S.C.
 16   § 1391(e)(1). “If the case falls within one of these three categories, venue is proper.”
 17   Californians for Renewable Energy v. United States Envtl. Prot. Agency, No. C 15-
 18   3292 SBA, 2018 WL 1586211, at *5 (N.D. Cal. Mar. 30, 2018). As relevant here,
 19   “the residency requirement of [28 U.S.C. § 1391(e)(1)(C)] is satisfied if at least one
 20   plaintiff resides in the district in which the action has been brought.” Sidney Coal Co.
 21   v. Soc. Sec. Admin., 427 F.3d 336, 345-46 (6th Cir. 2005).
 22         It is undisputed that Plaintiffs Children Center and UCARE—the two
 23   institutional Plaintiffs named in the complaint—are located within this District. (See
 24   ECF No. 51-1 at 14.) For purposes of the venue statute, both Plaintiffs therefore
 25   reside within the Central District of California. See 28 U.S.C. § 1391(c)(2) (“an entity
 26   with the capacity to sue and be sued in its common name under applicable law,
 27   whether or not incorporated, shall be deemed to reside … if a plaintiff, only in the
 28   judicial district in which it maintains its principal place of business”); see also Compl.
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  1   ¶¶ 15, 17 (alleging both Plaintiffs’ principal places of business are within the Central
  2   District of California). The fact that at least one plaintiff named in the Complaint
  3   resides in this District is sufficient to establish venue for the entirety of the action. See
  4   Ms. L. v. U.S Immigration & Customs Enf't, 302 F. Supp. 3d 1149, 1158-59 (S.D. Cal.
  5   2018) (in putative class action, finding venue proper where one of the two named
  6   plaintiffs resided in the district); Californians for Renewable Energy, 2018 WL
  7   1586211, at *5 (finding venue proper where some but not all plaintiffs resided in the
  8   district because “the clear weight of federal authority holds that venue is proper in a
  9   multi-plaintiff case if any plaintiff resides in the District”) (emphasis in original).
 10         Defendants ignore this clear precedent, making the unsupported argument that
 11   Children Center and UCARE “do not provide this Court with venue as they are not
 12   members of the proposed class.” (ECF No. 51-1 at 14.) Nothing in the venue statute
 13   looks at the claims or relief requested by the various plaintiffs to determine the
 14   propriety of the court’s adjudication. See, e.g., Californians for Renewable Energy,
 15   2018 WL 1586211, at *6 (denying motion to dismiss for lack of venue where some
 16   but not all plaintiffs resided in the district, which was, “standing alone, sufficient to
 17   establish that venue is proper—irrespective of whether their claims and claims of the
 18   remaining Plaintiffs are related”).
 19         Indeed, Defendants’ position directly contradicts established case law. In
 20   Immigrant Assistance Project of Los Angeles County Federation of Labor (AFL-CIO)
 21   v. I.N.S., for example, the Ninth Circuit considered a complaint brought by various
 22   individuals and institutional plaintiffs seeking relief on behalf of a class of
 23   undocumented immigrants. 306 F.3d 842, 849 (9th Cir. 2002). Some of the plaintiffs
 24   were individual immigrants directly affected by the complained of policies; others
 25   “were organizations who alleged that they provided legal and other assistance to aliens
 26   seeking legalization ….” Id. Of the numerous plaintiffs named in the complaint, only
 27   two resided in the Western District of Washington, one individual plaintiff and one
 28   organizational plaintiff. Id. at 868. Nonetheless, the Ninth Circuit held that if either
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  1   plaintiff could establish the jurisdictional requirements of the statute at issue, “venue
  2   in the Western District of Washington will be proper for all purposes.” Id. The Ninth
  3   Circuit did not consider whether the organizational plaintiff was directly included in
  4   the proposed class definition and, importantly, did not attempt to parse out or even
  5   look at the various claims and relief requested. Defendants’ attempt to do so here
  6   contradicts established precedent and should be rejected. 2 The Court need look no
  7   further—venue is proper based on the residence of named Plaintiffs Children Center
  8   and UCARE.
  9         C.     Venue is also proper because a substantial portion of the events
                   occurred in the Central District.
 10
 11         Even if the government were correct that the properly named institutional
 12   Plaintiffs do not satisfy venue in this matter, venue is also proper because “a
 13   substantial part of the events or omissions giving rise to the claim occurred” here.
 14   28 U.S.C. § 1391(e)(1)(B). Both Daniela Marisol T. and Lucas R. suffered a
 15   considerable portion of the violations alleged in the Complaint within the Central
 16   District of California.
 17         First, Daniela was transferred from Shiloh RTC into another facility just outside
 18
 19   2
        Defendants also make a half-hearted argument that it is “unclear” if the institutional
      Plaintiffs “have suffered any meaningful harm.” (ECF No. 51-1 at 14.) As discussed
 20   supra, the relief requested by any subset of plaintiffs is irrelevant to the venue inquiry.
      Further, and as alleged in the Complaint, Defendants’ policies and practices have
 21   impaired the institutional Plaintiffs’ ability to provide services and frustrated their
      missions. (See Section II, supra; see also Compl. ¶¶ 15-17.) As such, there is no
 22   question that the institutional Plaintiffs named in the Complaint have standing. See
      Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982) (holding that where the
 23   defendants’ “practices have perceptibly impaired [the organizational plaintiff’s] ability
      to provide [the services it was formed to provide] ... there can be no question that the
 24   organization has suffered the requisite injury in fact”); Fair Hous. of Marin v. Combs,
      285 F.3d 899, 905 (9th Cir. 2002) (holding that organizational plaintiff had “direct
 25   standing to sue because it showed a drain on its resources from both a diversion of its
      resources and frustration of its mission”); El Rescate Legal Servs., Inc. v. Exec. Office
 26   of Immigration Review, 959 F.2d 742, 748 (9th Cir. 1991) (“The allegation that the
      [government’s] policy frustrates these goals [of helping refugees obtain asylum and
 27   withhold deportation] and requires the organizations to expend resources … they
      otherwise would spend in other ways is enough to establish standing.”). Indeed,
 28   Defendants do not even attempt to argue otherwise.
                                                                 OPPOSITION TO MOTION TO DISMISS
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                                                                                CV 2:18-CV-05741
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  1   of Los Angeles, the David and Margaret Shelter (“David and Margaret”) in La Verne,
  2   California. (Mulligan Decl. Ex. A.) ORR gave her notice that, like Shiloh, this was a
  3   secure or staff secure facility. (Id.) During her stay of more than three months, she
  4   was not released to her sister Katherine, was given no opportunity to challenge the
  5   grounds of her secure placement, and received no legal counsel regarding these issues,
  6   continuing the same statutory and constitutional deprivations she had experienced at
  7   Shiloh RTC. In addition, she was improperly compelled to take psychotropic
  8   medications in violation of state law at David and Margaret. Specifically, Daniela
  9   was administered two psychotropic medications, Prozac and Seroquel, while at David
 10   and Margaret without any consent by a parent or guardian. (Id., Ex. B.) In the
 11   absence of parental or guardian consent, California law requires that a juvenile court
 12   authorize the administration of psychotropic medications to dependent children. Cal.
 13   Welf. & Inst. Code §§ 369.5(a)(1), 739.5(a)(1); see also Cal. Rule of Court 5.640(b);
 14   Judicial Council of California, Forms JV-220 & JV-220(B) (requiring that a court be
 15   informed fully of the potential consequences of psychotropics prior to authorizing
 16   their administration to dependent minors). The authorizations signed by Defendant
 17   ORR Director Scott Lloyd, however, did not adhere to these protections and instead
 18   authorized the “the care provider,” i.e., David and Margaret, to dispense prescription
 19   medicine. (Mulligan Decl., Exs. C & D.) Daniela believed that she needed to take the
 20   medicine as a prerequisite to being released from government custody. (Compl. ⁋ 37.)
 21         Second, ORR’s actions within the Central District of California prevented
 22   Lucas R.’s release to his sister and Next Friend Madelyn R., lengthening his stay in
 23   secure detention and resulting in ongoing improper administration of psychotropic
 24   drugs. During the entirety of ORR’s custody of Lucas R., Madelyn R. has resided in
 25   Los Angeles, California. (Id. ⁋ 25.) Within approximately ten (10) days of Lucas R.’s
 26   placement, Madelyn R. submitted a complete family reunification packet with
 27   required documentation from Los Angeles. (Id. ⁋ 21.) It was there, six weeks after
 28   Madelyn R. requested custody, that ORR conducted a home study. (Id. ⁋ 25.) The
                                                               OPPOSITION TO MOTION TO DISMISS
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                                                                              CV 2:18-CV-05741
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  1   investigator found her home suitable but noted that all residents of the home would
  2   need to appear for fingerprinting. (Id. ⁋ 26.) Madelyn R. advised the investigator that
  3   one of the adults present during the home study, her roommate’s brother, did not
  4   reside there but was merely visiting. (Id.) All of the residents of Madelyn R.’s home
  5   duly appeared for fingerprinting, except for her roommate’s brother, who did not
  6   reside there and therefore had no reason to submit to fingerprinting under ORR
  7   regulations. (Id.) One month later, ORR orally advised Madelyn R. that because her
  8   roommate’s brother did not appear for fingerprinting that it would not release Lucas
  9   R. to her custody. (Id.) ORR informed Madelyn R. that its decision was final and did
 10   not provide any avenue to appeal. (Id.) In addition, ORR failed to provide Madelyn
 11   R. with a written decision or explanation. (Id.) All of these events occurred while
 12   Madelyn R. was residing at her current home in Los Angeles. As a direct result of
 13   ORR’s actions and inactions within this District, Lucas R. remains in custody without
 14   the opportunity to challenge ORR’s decisions regarding his sister’s suitability as a
 15   custodian, without the ability to challenge his secure placement, and where he was
 16   administered psychotropic drugs in violation of state law. Thus, crucial events
 17   regarding ORR’s actions that give rise to Lucas R.’s claims arose in this District.
 18         These events are more than sufficient to establish venue in this matter. Courts
 19   in immigration-related challenges find the “substantial part of the events or
 20   omissions” test “satisfied where an office in the relevant district took significant
 21   action …, even if significant actions were also undertaken elsewhere.” Adab v. United
 22   States Citizenship & Immigration Servs., No. 14-cv-04597-CAS(AGRx), 2015 WL
 23   6249563, at *4 (C.D. Cal. Feb. 9, 2015) (citing Mohammedi v. Scharfen, 609 F. Supp.
 24   2d 14, 18 (D.D.C. 2009) (finding venue proper in Maryland where the plaintiff
 25   reported to the Baltimore USCIS office for fingerprinting and an interview); Aftab v.
 26   Gonzalez, 597 F. Supp. 2d 76, 80 (D.D.C. 2009) (finding venue proper in the Northern
 27   District of Texas where an office in that district processed an applicant's application
 28   by gathering evidence and fingerprints, and communicated with the applicant); Zhang
                                                                 OPPOSITION TO MOTION TO DISMISS
                                                 9.
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  1   v. Chertoff, No. 08–cv–02589–JW, 2008 WL 5271995, at *4 (N.D. Cal. Dec. 15,
  2   2008) (transferring case to this district because plaintiff filed petition with office
  3   located herein)). The mere fact that ORR has taken some actions regarding its
  4   custody of Daniela Marisol T. and Lucas R. in other districts cannot disqualify the
  5   Central District of California as an appropriate venue in this matter.
  6         And Plaintiffs need not establish that the events in this District predominate or
  7   that the chosen district is the best venue, merely that the events in question form a
  8   substantial part of the claim. Gulf Ins. Co. v. Glasbrenner, 417 F. 3d 353, 356 (2d Cir.
  9   2005); Adab, 2015 WL 6249563, at *5 (citing U.S. Tower Corp. v. STS Int'l, Inc., No.
 10   08–cv–0228–AWI–SMS, 2008 WL 2074463, at *2 (E.D. Cal. May 15, 2008);
 11   Hawkins v. Davis, No. 00–cv–01077–DDP–CWZ, 2000 WL 33936254, at *1 (C.D.
 12   Cal. Aug. 10, 2000) (“A substantial part of the events may arise, and venue may be
 13   appropriate, in more than one judicial district.”); Ibrahim v. Chertoff, No. 06–cv–
 14   2071–L–POR, 2007 WL 1558521, at *5 (S.D. Cal. May 25, 2007) (“Petitioner is not
 15   limited to the district where the most substantial events or omissions giving rise to the
 16   action occurred.”)).
 17         Here, there is no question that the events occurring within the District are a
 18   substantial part of Daniela Marisol T. and Lucas R.’s claims. Daniela Marisol T.’s
 19   claims arise from her placement in secure and staff secure facilities, including the
 20   David and Margaret facility in La Verne, California. ORR’s refusal to release her to
 21   her sister Katherine, her inability to challenge her secure placement, ORR’s improper
 22   administration of psychotropic drugs, and the absence of legal representation are all
 23   related to her placement at David and Margaret. And the events during her time in La
 24   Verne are all sufficient, in and of themselves, to support Daniela Marisol T.’s claims
 25   that she suffered due process and statutory violations and was deprived of the
 26   protections afforded to her by the Flores Settlement. While similar events also
 27   occurred during Daniela Marisol T.’s placement elsewhere, that does not eliminate
 28   this District as a proper venue. Similarly, Lucas R.’s placement in Shiloh RTC is
                                                                  OPPOSITION TO MOTION TO DISMISS
                                                 10.
                                                                                 CV 2:18-CV-05741
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  1   directly linked to ORR’s actions in this District. But for ORR’s actions in Los
  2   Angeles, i.e., refusing to release Lucas R. to his sister Madelyn R. despite the
  3   suitability of her home, he would have been released many months ago and would
  4   have suffered far fewer of the due process and statutory violations that underlie his
  5   claims.
  6         And because there is venue for Daniela Marisol T. and Lucas R.’s claims under
  7   28 U.S.C. § 1391(e)(1)(B), venue is also proper for the other named Plaintiffs whose
  8   claims allege violations of the same practices and policies. See Rodriguez v. Cal.
  9   Highway Patrol, 89 F. Supp. 2d 1131, 1136 (N.D. Cal. 2000) (holding that even
 10   though the alleged civil rights violation occurred in different districts for different
 11   plaintiffs, because a substantial part of the events affecting one plaintiff occurred in
 12   the Northern District, venue was proper as to named plaintiffs making similar claims).
 13   Thus, even if the residence of the institutional Plaintiffs in this matter were not
 14   sufficient to establish venue (and it is), venue would also be proper under 28 U.S.C §
 15   1391(e)(1)(B).
 16         D.     The Court has the discretion to exercise pendant venue.
 17         Lastly, the government does not (and cannot) dispute that this Court has the
 18   discretion to hear all claims in this matter under the pendant venue doctrine, as long as
 19   even one claim is properly before it. The pendent venue doctrine says that if all
 20   claims asserted arise out of the same transaction or occurrence (“a common nucleus
 21   of operative facts”), a claim properly venued before the Court can support venue as to
 22   other claims. Martensen v. Koch, 942 F. Supp. 2d 983, 998 (N.D. Cal. 2013) (“[T]he
 23   pendent venue doctrine … holds that if venue is proper on one claim, the court may
 24   find pendent venue for claims that are closely related.”). In deciding whether to
 25   exercise pendent venue, “[a] court may consider the principles of judicial economy,
 26   convenience, avoidance of piecemeal litigation, and fairness to the litigants.” Id.
 27         Here, there is no question that the institutional Plaintiffs have venue for their
 28   claims. Similarly, because substantial events occurred in this District as to the claims
                                                                  OPPOSITION TO MOTION TO DISMISS
                                                 11.
                                                                                 CV 2:18-CV-05741
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  1   brought by Lucas R. and Daniela Marisol T., venue is proper for their claims. Thus,
  2   all of the claims at issue in the Complaint, including the class action claims, are
  3   already properly before this Court for multiple reasons. Judicial economy,
  4   convenience, and the avoidance of piecemeal litigation all support this Court
  5   adjudicating the entire matter in this District. Even if the Court determined that,
  6   despite the authority discussed supra, it did not have venue for the entire action under
  7   28 U.S.C §§ 1391(e)(1)(B) & (C), it should use its discretion to adjudicate the claims
  8   brought by the other named Plaintiffs, including their individual claims for immediate
  9   release via preliminary injunction. 3
 10         E.     This action is not duplicative of Flores and alleges new, separate
                   causes of action.
 11
 12         The government next alleges that this action is duplicative of Flores. (ECF No.
 13   51-1 at 17-22.) To assess whether the actions are duplicative the Court must look to
 14   whether this litigation alleges the same causes of action and seeks the same relief
 15   against the same parties as does Flores. Adams v. Cal. Dep’t of Health Servs., 487
 16   F.3d 684, 689 (9th Cir. 2007), overruled on other grounds by Taylor v. Sturgell, 55
 17   U.S. 880, 904 (2008). For several reasons, it does not.
 18         First, on multiple occasions, this Court and the Ninth Circuit have held that the
 19   Flores Settlement confers no rights or benefits beyond what the agreement provides.
 20
 21
 22
      3
        The government is wrong that the present disputes, including the motions for
 23   preliminary injunction for Lucas R. and Gabriela Marisol T., are habeas petitions that
      must be venued where each plaintiff is currently in custody. As addressed in
 24   Plaintiffs’ Reply in Support of its Motion for Preliminary Injunction for Lucas R.,
      Plaintiffs do not challenge their detention but rather their placement without the
 25   protections required by the Constitution, relevant statutes, and the Flores Settlement.
      (ECF No. 53 at 12-14.) Further, a court has already rejected the argument that due
 26   process violations involving ICE decisions must be adjudicated in each venue in
      which they occurred. See Ms. L., 302 F. Supp. at 1158-59 (rejecting ICE’s argument
 27   that constitutional due process challenges needed to brought as habeas petitions in the
      district where each plaintiff was detained, instead holding that venue was proper as to
 28   all plaintiffs if one plaintiff resided in the district under 28 U.S.C. § 1391(e)).
                                                                 OPPOSITION TO MOTION TO DISMISS
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  1         In Flores v. Lynch, 828 F.3d 898, 908 (9th Cir. 2016), for example, the Ninth
  2   Circuit held, “The fact that the [Flores] Settlement grants class members a right to
  3   preferential release to a parent over others does not mean that the government must
  4   also make a parent available” by considering release of the family together.
  5         In its order of July 27, 2017, this Court ruled that DHS’s interference with
  6   Flores class members’ access to counsel does not breach the Settlement because
  7   “there is no provision of the Flores Agreement that establishes class members’ right to
  8   counsel.” (Flores, ECF No. 363 at 31-32.)
  9         Again in its order of July 30, 2018, this Court held that Flores class members’
 10   rights under the William Wilberforce Trafficking Victims Protection Reauthorization
 11   Act of 2008, 110 Pub. L. 457, 122 Stat. 5044, codified in pertinent part at 8 U.S.C.
 12   § 1232 (“TVPRA”), and the U.S. Constitution are unavailing in proceedings to
 13   enforce the Flores Settlement:
 14         Plaintiffs seek certain procedural remedies that are not set forth in the
 15         Flores Agreement, including an order requiring ORR to: provide notice
            and an opportunity to be heard by an immigration judge before a Class
 16         Member may be transferred to an RTC, staff-secure facility, or secure
 17         facility; obtain a court order or informed written consent prior to the
            administration of psychotropic drugs to a Class Member; and release a
 18         Class Member to a proposed sponsor or refer the proposed sponsor’s
 19         suitability determination to a state juvenile authority within 30 days of
            receiving a complete family reunification packet. Plaintiffs contend
 20         that this Court has the authority to provide them such relief in the
 21         context of the instant motion to enforce. The Court concludes that, on
            this motion to enforce, Plaintiffs are entitled to only such relief as is
 22         explicitly or implicitly authorized by the Flores Agreement.
 23
 24   (Flores, ECF No. 470 at 3-4 (emphasis added and citations and footnotes omitted); see

 25   also id. at 5 (“The vindication of a constitutional right is not coterminous with the

 26   enforcement of a contractual provision.”); id. at 5-6 (“nothing in the Agreement . . .

 27   suggests that the parties’ agreement to these terms was based on any requirement that

 28   [Defendants] would provide such counsel, or that such agreement was contingent on

                                                                 OPPOSITION TO MOTION TO DISMISS
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  1   access to counsel in any way.’) (internal quotation marks and citation omitted).) 4
  2         Nor does Defendants’ characterization of the 1997 Flores Settlement as the
  3   exclusive fount of detained children’s rights square with Congress’s having enacted
  4   the TVPRA in 2008, some eleven years later.
  5         Although the TVPRA “partially” codified the Flores Settlement, Flores, 828
  6   F.3d at 904, it plainly vests Plaintiffs with explicit rights the Flores Settlement does
  7   not, including the right to counsel in “legal proceedings or matters,” 8 U.S.C.
  8   § 1232(c)(5); the right to placement in the least restrictive setting consistent with a
  9   minor’s best interests, id., § 1232(c)(2)(A); and the right to procedural protection
 10   against wrongful placement in a secure facilityid. Plaintiffs are clearly entitled to
 11   assert these statutory claims in this proceeding and independently of Flores.
 12         Next, numerous courts have entertained—and are now entertaining—lawsuits
 13   challenging ORR’s treatment of Flores class members as violative of the TVPRA and
 14   the Constitution, separate and apart from the Flores Settlement itself. E.g., Saravia v.
 15   Sessions, 280 F. Supp. 3d 1168 (N.D. Cal. 2017) (ORR enjoined from confining
 16   Flores class members re-arrested on allegations of gang involvement without
 17   hearing); Beltran v. Cardall, 222 F. Supp. 3d 476 (E.D. Va. 2016) (ORR enjoined
 18   from refusing to release Flores class member to mother as violative of due process);
 19   Santos v. Smith, 260 F. Supp. 3d 598 (W.D. Va. 2017) (same); Maldonado v. Lloyd,
 20   No. 18 Civ. 3089 (JFK), 2018 U.S. Dist. LEXIS 75902 (S.D.N.Y. 2018) (same);
 21   L.V.M. v. Lloyd, No. 18 Civ. 1453 (PAC), 2018 U.S. Dist. LEXIS 107692 (S.D.N.Y.
 22   June 27, 2018) (ORR enjoined from detaining Flores class members while waiting for
 23   director review as violative of the TVPRA).
 24
 25
      4
       Opposing the motion that led to the Court’s July 30, 2018 order in Flores, ORR
 26   argued that the Flores Settlement does not itself create procedural protections against
      wrongful step-up or detention, and that the Flores plaintiffs should seek such relief “in
 27   separate litigation . . . .” (Flores, ECF No. 425 at 17, 30.) Now that Plaintiffs do so,
      ORR pivots.
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                                                                 OPPOSITION TO MOTION TO DISMISS
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  1         Implicit in all these cases is that children in ORR custody have rights beyond
  2   those the Flores Settlement confers, rights they may freely assert in independent
  3   actions such as this one.
  4          Further, this case raises distinct claims from the original Flores action. The
  5   complaint in Flores alleged seven causes of action: (1) unlawfully conditioning bail
  6   on parent or legal guardian’s personal appearance; (2) imposition of bond conditions
  7   without due process of law; (3) unlawful denial of education; (4) unlawful denial of
  8   recreation; (5) unlawful denial of reasonable visitation; (6) unlawful incarceration
  9   with unrelated adults; and (7) unlawful strip searches. (Flores, ECF No. 1; see also
 10   Second Amended Complaint 22-27, Flores v. Meese, No. 85-cv-4544-RJK (Px) (C.D.
 11   Cal. Mar. 1988).) The relief sought was limited to the claims raised and sought a
 12   declaration that the former INS’s practices were unlawful, and an order enjoining
 13   those unlawful practices. (Id.) However, the present case alleges four distinct
 14   constitutional and statutory claims: (1) that ORR violates due process rights by
 15   unnecessarily delaying the release of children without a meaningful opportunity to be
 16   heard regarding the sponsor’s fitness; (2) that ORR violates due process by placing
 17   Plaintiffs in secure facilities without a meaningful opportunity to be heard before or
 18   after such placement; (3) that ORR violates due process by administering
 19   psychotropic medications without proper authorization; and (4) that ORR violates
 20   Plaintiffs’ due process rights by blocking legal assistance in matters relating to
 21   custody, medication, and release. (ECF No. 1 at 39-41.)
 22         Plaintiffs’ case also raises facts that are distinct from those raised in Flores.
 23   Plaintiffs have nowhere alleged that bail is conditioned upon a parent or guardian’s
 24   personal appearance or made claims regarding the unlawful conditions that
 25   approximate those alleged in the original Flores complaint. Rather, the complaint in
 26   this case alleges violations regarding access to counsel and a denial of fair processes
 27   regarding sponsor reunification, placement in unlicensed detention centers, and
 28   administration of psychotropic medications. Moreover, Plaintiffs allege violations of
                                                                  OPPOSITION TO MOTION TO DISMISS
                                                15.
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  1   TVPRA—a statute not even in existence when the original Flores complaint was
  2   filed. Thus, not only are the claims distinct, but one of the statutory schemes
  3   challenged in the Complaint did not even exist during the original Flores litigation.
  4          The Flores class also prudently attempted to bring three related claims before
  5   this Court in a Motion to Enforce the Flores Settlement. In that Motion, the Flores
  6   plaintiffs alleged, in part, that the Flores Settlement required more robust procedural
  7   protections before administering psychotropic medications, when determining
  8   custodial fitness, and when placing children in non-licensed detention centers.
  9   (Flores, ECF No. 409.) The government in its response, however, contended that the
 10   procedural protections requested were beyond the scope of the Flores Settlement.
 11   (Flores, ECF No. 425 at 17-18). This Court ultimately held that the Flores Settlement
 12   does not entitle the Flores class members to certain procedural protections for the
 13   substantive rights conferred by the consent decree. (Flores, ECF No. 470.) While the
 14   Court did find the government in violation of the consent decree, it found providing
 15   more procedural protections was beyond the scope of the Settlement. (Id.) The
 16   Court’s finding that the Settlement was silent as to procedural protections for
 17   decisions concerning custodial fitness, placements, and medication administration,
 18   only underscores that the present claims are not duplicative of the original Flores
 19   litigation.
 20          Moreover, that the complaint alleges, in part, violations of the Flores
 21   Settlement does nothing to further the government’s claim that this action is
 22   duplicative. The Flores Settlement explicitly provides for its enforcement in this
 23   District Court pursuant to ¶ 37. Thus, issues implicating potential violations of the
 24   Flores Settlement are properly before this Court whether or not they are duplicative of
 25   claims raised in Flores (they are not).
 26
 27
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  1   V.    CONCLUSION
  2         For the reasons set forth above, Plaintiffs respectfully request that the Court deny
  3   Defendants’ Motion to Dismiss.
  4
      Dated:     August 29, 2018.             CARLOS HOLGUÍN
  5                                           Center for Human Rights &
                                              Constitutional Law
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  9                                           LEECIA WELCH
                                              NEHA DESAI
 10                                           POONAM JUNEJA
                                              CRYSTAL ADAMS
 11                                           National Center for Youth Law
 12                                            SUMMER WYNN
                                               MARY KATHRYN KELLEY
 13                                            JON F. CIESLAK
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 16
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 17
                                               Leecia Welch
 18
                                               One of the Attorneys for Plaintiffs
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                                                                  OPPOSITION TO MOTION TO DISMISS
                                               17.
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